48 F.3d 1218NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.
    UNITED STATES of America, Plaintiff-Appellee,v.Dailon Lee Grant RAY, a/k/a Dailon Leegrant Buddy Ray, a/k/aDailon Leegrant Ray, a/k/a Dailon L. Buddy Ray,a/k/a Dailon Legrand Ray, a/k/a DailonLegrant Ray, Defendant-Appellant.
    No. 94-7046.
    United States Court of Appeals, Fourth Circuit.
    Submitted Jan. 19, 1995.Decided Feb. 16, 1995.
    
      Dailon Lee Grant Ray, Appellant Pro Se.
      Barbara Dickerson Kocher, Office of the United States Attorney, Raleigh, NC, for Appellee.
      Before WILKINS and MICHAEL, Circuit Judges, and SPROUSE, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order dismissing his motion for reduction of sentence.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  United States v. Ray, Nos.  CR-87-25;  CA-93-82 (E.D.N.C. Aug. 30, 1994).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    